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JOHN G. POWERS
(315) 565-4547
jpowers@hancocklaw.com

                                          July 27, 2018
VIA ECF ONLY

Judge David E. Peebles
United States Magistrate Judge
Northern District of New York
Federal Building and U.S. Courthouse
Syracuse, New York 13261

        Re:     John Doe #1-9. v. Syracuse University et al. 5:18-CV-496 (FJS/DEP)

Dear Magistrate Judge Peebles:

        We represent Defendants in the above-captioned action. We have conferred with
opposing counsel who has indicated that Plaintiffs intend to add an additional claim to their
Complaint. In that regard, the disciplinary proceedings that form the basis for this action became
final on or about July 26, 2018, when Plaintiffs received notice of the confirmation of the
University’s decision on their respective appeals. As a result, I understand that Plaintiffs intend
to add an additional claim to the pleadings under Article 78 of the CPLR.

        As the present deadline to Answer or otherwise respond to the First Amended Complaint
is July 30, 2018, the parties agree that it would be more efficient to provide Plaintiffs an
opportunity to amend their pleading before Defendants answer. For their part, Defendants
consent to allowing Plaintiffs to file a Second Amended Complaint pursuant to Federal Rule of
Civil Procedure 15(a)(2).

        Accordingly, the parties respectfully request that the Court so-order the attached
Stipulation that proposes that Plaintiffs file their Second Amended Complaint on August 3, 2018
and that Defendants’ deadline to answer or otherwise appear be August 10, 2018.

        Thank for your consideration of this request.

                                     Respectfully Submitted,

                                   HANCOCK ESTABROOK, LLP




                                         John G. Powers

cc: Counsel of record via ECF


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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 27, 2018, I caused the foregoing to be served via the Court’s

ECF System upon counsel for all parties to this action.

Dated: July 27, 2018                          s/ John G. Powers
                                             John G. Powers




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